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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

CARLA DOE,                                      )
                                                )
                        Plaintiff,              )
                                                )
v.                                              )   No. 4:22-CV-247 PLC
                                                )
CASTLEWOOD TREATMENT                            )
CENTER, ET AL.,                                 )
                                                )
                        Defendants.             )


                                     ORDER OF DISMISSAL

        This matter is before the Court on review of the record. On June 15, 2022, the Court

entered an order directing Plaintiff Carla Doe to show cause, within fourteen days, why the action

should not be dismissed without prejudice for failure to serve the two named Defendants within

ninety days after the complaint was filed on February 28, 2022. [ECF No. 6] The docket reflects

that Plaintiff has not responded to the Court’s show cause order. Therefore, after careful

consideration,

        IT IS HEREBY ORDERED that Plaintiff’s cause of action against Defendants

Castlewood Treatment Center and Brittney Gibbs is DISMISSED without prejudice pursuant to

Fed. R. Civ. P. 4(m).




                                                    PATRICIA L. COHEN
                                                    UNITED STATES MAGISTRATE JUDGE

Dated this 12th day of July, 2022
